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8                             UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
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11    JOSE VALENZUELA,                                Case No. CV 24-00257-MRA(JPRx)
12                              Plaintiff(s),         PRETRIAL SCHEDULING ORDER
                                                      AFTER CASE REASSIGNMENT
13                 v.
14    EVERI GAMES INC., et al.,
15                              Defendant(s).
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20          The Court’s Reassignment Order, issued on February 28, 2024, vacated the
21    previously scheduled scheduling conference in this case, but it required the parties to file
22    their Joint Report pursuant to Federal Rule of Civil Procedure 26(f) based on the previously
23    scheduled scheduling conference. (ECF 23). Having now considered the Joint 26(f)
24    Report filed by the parties on February 19, 2024 (ECF 20), as well as the parties’ Joint
25    Case Management Report, filed on March 14, 2024 (ECF 28), and finding good cause
26    therefor, the Court hereby sets the following pretrial dates:
27    //
28    //



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1      Final Pretrial Conference (3:00 p.m.)                July 17, 2025
2      Opposition to Motions in Limine Filing Deadline      June 26, 2025
3      Motions in Limine Filing Deadline                    June 20, 2025
4      Settlement Conference Completion Date                June 12, 2023
5                                                           [Private]
6      Last Date to HEAR Daubert Motions                    May 22, 2025
7      Last Date to HEAR Non-Discovery Motions              April 24, 2024
8      Expert Discovery Cut-Off                             April 10, 2024
9      Expert Disclosure (Rebuttal)                         March 20, 2024
10     Expert Disclosure (Initial)                          February 20, 2024
11     Non-Expert Discovery Cut-Off                         January 31, 2025
12     Last day to file Motion for Class Certification      October 7, 2024
13     Last Date to HEAR Motions to Amend                   August 29, 2024
14     Pleadings/Add Parties
15          The parties shall comply with the Court’s forthcoming Civil Trial Order. The
16    Court defers setting a trial date until the parties appear for the FPTC. However, the parties
17    are expected to be ready to proceed to trial following the FPTC, and therefore must confer
18    before the FPTC to identify mutually agreeable trial date(s) within 90 days following the
19    conference.
20          To conform with the Court’s presumptive schedule, the schedule set forth above has
21    been adjusted from that proposed by the parties. These dates and deadlines will not be
22    continued except upon a showing of good cause, which generally requires unforeseeable
23    circumstances. See Fed. R. Civ. P. 16(b)(4). Failure to conduct discovery diligently or a
24    desire to engage in settlement discussions will not constitute good cause.
25          IT IS SO ORDERED.
26    Dated: May 03, 2024                         ___________________________________
27                                                HON. MÓNICA RAMÍREZ ALMADANI
28                                                UNITED STATES DISTRICT JUDGE



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